    Case 1:18-cr-00083-TSE Document 237 Filed 08/13/18 Page 1 of 3 PageID# 4884
 


                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


UNITED STATES OF AMERICA,                     )
                                              )       Criminal No. 1:18-cr-00083-TSE
v.                                            )
                                              )       Judge T. S. Ellis, III
PAUL J. MANAFORT, JR.,                        )
                                              )
                Defendant.                    )

             PAUL J. MANAFORT, JR.’S REQUEST FOR JUDICIAL NOTICE

         Paul J. Manafort, Jr., by and through counsel, requests pursuant to Rule 201 of the Federal

Rules of Evidence that the Court take judicial notice of certain facts. During redirect examination

of James Brennan the government elicited information regarding the non-performance of the loans

made by The Federal Savings Bank (“TFSB”) to Mr. Manafort. In response, on re-cross, counsel

asked Mr. Brennan whether the loans were written off by TFSB after the government indicted Mr.

Manafort and sought forfeiture of underlying collateral. The witness did not know. Defendant

now asks the Court to take judicial notice of the following facts based upon the indictment in the

matter pending in the U.S. District Court for the District of Columbia (Doc. 13, at pg. 30):

         On October 27, 2017, the Office of Special Counsel brought an indictment against
         Paul Manafort charging him with various offenses and seeking forfeiture of the
         property known as 377 Union Street, Brooklyn, New York and the property known
         as the Bridgehampton property located at 174 Jobs Lane, Water Mill, New York.

Dated: August 13, 2018                        Respectfully submitted,

                                              s/ Kevin M. Downing
                                              Kevin M. Downing (pro hac vice)
                                              Law Office of Kevin M. Downing
                                              601 New Jersey Avenue NW
                                              Suite 620
                                              Washington, DC 20001
                                              (202) 754-1992
                                              kevindowning@kdowninglaw.com


 
    Case 1:18-cr-00083-TSE Document 237 Filed 08/13/18 Page 2 of 3 PageID# 4885
 



                                      s/ Thomas E. Zehnle
                                      Thomas E. Zehnle (VSB No. 27755)
                                      Law Office of Thomas E. Zehnle
                                      601 New Jersey Avenue NW
                                      Suite 620
                                      Washington, DC 20001
                                      (202) 368-4668
                                      tezehnle@gmail.com

                                      s/ Richard W. Westling
                                      Richard W. Westling (pro hac vice)
                                      Epstein Becker & Green, P.C.
                                      1227 25th Street, N.W.
                                      Washington, DC 20037
                                      (202) 861-1868
                                      rwestling@ebglaw.com

                                      s/ Jay R. Nanavati
                                      Jay R. Nanavati (VSB No. 44391)
                                      Brian P. Ketcham (pro hac vice)
                                      Kostelanetz & Fink LLP
                                      601 New Jersey Avenue NW
                                      Suite 620
                                      Washington, DC 20001
                                      (202) 875-8000
                                      jnanavati@kflaw.com


                                      Counsel for Defendant Paul J. Manafort, Jr.




                                         2
 
    Case 1:18-cr-00083-TSE Document 237 Filed 08/13/18 Page 3 of 3 PageID# 4886
 




                                CERTIFICATE OF SERVICE

        I hereby certify that on the 13th day of July 2018, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

Andrew A. Weissman
Greg D. Andres
Uzo Asonye

U.S. Department of Justice
Special Counsel’s Office
950 Pennsylvania Avenue NW
Washington, DC 20530
Telephone: (202) 616-0800
Email: AAW@usdoj.gov
       GDA@usdoj.gov
       Uzo.Asonye@usdoj.gov


                                              s/ Jay R. Nanavati
                                              Jay R. Nanavati (VSB No. 44391)
                                              Kostelanetz & Fink LLP
                                              601 New Jersey Avenue NW
                                              Suite 620
                                              Washington, DC 20001
                                              (202) 875-8000
                                              jnanavati@kflaw.com

                                              Counsel for Defendant Paul J. Manafort, Jr.




                                                 3
 
